                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      NO. 3:10-00258
                                                )      JUDGE CAMPBELL
MIGUEL PADILLA                                  )


                                      ORDER

      Pending before the Court is a Motion to Accept Government’s Response Out of Time

(Docket No. 371). The Motion is GRANTED.

      It is so ORDERED.

                                                ____________________________________
                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




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